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                          UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE


 RICHARD E. KAPLAN,                          )
                                             )
                       PLAINTIFF             )
                                             )
 v.                                          )              CIVIL NO. 05-144-B-H
                                             )
 FIRST HARTFORD                              )
 CORPORATION AND                             )
 NEIL ELLIS,                                 )
                                             )
                       DEFENDANTS            )


      FINDINGS OF FACT AND CONCLUSIONS OF LAW PART 2: VALUATION1


         The current issue I must decide in this corporate oppression case is a Maine

 corporation’s value on September 15, 2005. The pertinent Maine statute instructs

 me to determine “fair value.” 13-C M.R.S.A. § 1434(2)(A). The Maine Law Court

 has not interpreted that particular provision, but it has interpreted the identical

 language in Maine’s appraisal rights chapter (title 13-C, chapter 13 of the Maine

 statutes), available to dissenting shareholders. In re Valuation of Common Stock

 of McLoon Oil Co., 565 A.2d 997 (Me. 1989); In re Valuation of Common Stock of

 Libby, McNeill & Libby, 406 A.2d 54 (Me. 1979). I rely on that interpretation, as

 do the parties.




 1I conducted a bench trial on valuation on July 24-25, 2008. By the parties’ agreement,
 Magistrate Judge Rich presided at the taking of additional testimony from the experts on
 September 24, 2008, and I have read that entire transcript and examined the exhibits from all the
 proceedings. I held oral argument on the parties’ post-trial submissions on February 11, 2009.
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        Under Maine law, “[t]he question for the court becomes simple and direct:

 What is the best price a single buyer could reasonably be expected to pay for the

 firm as an entirety?” McLoon, 565 A.2d at 1004. The Maine Law Court instructs

 that there is to be no discount for minority shares, or for lack of marketability. Id.

 at 1003. The Law Court also has specified that the determination of value is not

 subject to “hard and fast rules.” Libby, 406 A.2d at 60.2

        The company here, First Hartford Corporation (“First Hartford” or “FHC”)

 manages real estate development properties, primarily neighborhood or strip

 malls, through a number of subsidiaries. First Hartford Corp., Annual Report

 (Form 10-K) (Aug. 15, 2005) (Pl. Ex. 59). It owns both entire and partial interests

 in such developments. Id. at 3-4. Through its subsidiaries it holds and manages

 most of its properties for their income potential. Id. at 2. But some it purchases

 and/or develops with a view to income and/or sale. Id. Although it is a publicly

 held corporation, it is traded only thinly on the Pink Sheets,3 and in some respects




 2 The appraisal rights chapter actually defines fair value, including a provision that it is to be
 determined “[u]sing customary and current valuation concepts and techniques generally employed
 for similar businesses in the context of the transaction requiring appraisal” and “[w]ithout
 discounting for lack of marketability or minority status” (with some inapplicable exceptions). 13-C
 M.R.S.A. § 1301 (4)(B)-(C). As to the first, although I use “customary and current valuation
 concepts and techniques,” I cannot say that they are “generally employed for similar businesses in
 the context of the transaction requiring appraisal” because the remedy here (compelled purchase
 falling under the chapter for judicial dissolution) is so unique. In any event, business valuation is
 no longer limited by the old Delaware Block method, whereby the judge had to assign a percentage
 weight to the value arrived at by each of three approaches. See Weinberger v. UOP, Inc., 457 A.2d
 701, 712 (Del. 1983) (finding Delaware Block “outmoded”); In re Valuation of Common Stock of
 McLoon Oil Co., 565 A.2d 997, 1003 (Me. 1989) (permitting it but no longer requiring it in Maine).
 3 “Pink Sheets” refers to a financial service that reports information about over the counter

 securities trading and issuers. Pink Sheets: History of Pink Sheets, http://www.pinksheets.com/
 pink/about/history.jsp (on file with the Clerk of Court). The domestic companies listed on the
 Pink Sheets “tend to be closely held, extremely small and/or thinly traded.” U.S. Sec. & Exch.
 Comm’n, Pink Sheets, http://www.sec.gov/answers/pink.htm (on file with the Clerk of Court).

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 it behaves much like a closely held corporation.4 Although it has some similarities

 to a Real Estate Investment Trust (REIT), there are also many differences (e.g.,

 structure; tax status; requirements as to distributing profits; more focus on

 developing properties for sale). In a word, this is a difficult business to value.

        At a bench trial, the parties presented opinion evidence on fair value from

 three experts. Not surprisingly, the three experts disagreed with each other’s

 opinions and/or methodologies.5 The defendants challenged the plaintiff’s expert

 witness altogether under Daubert.6 Defs.’ Valuation Post-Hr’g Br. at 18 (Docket

 Item 182). I reject the Daubert challenge to both the testimony and the associated

 exhibits. This is not the stuff of ordinary expert testimony, involving physics,

 engineering or medicine. According to the Maine Law Court, the determination of

 fair value is “more akin to an artistic composition than to a scientific process.”

 Libby, 406 A.2d at 60. My search here is for what a third party would pay for this

 entire company. McLoon, 565 A.2d at 1004. Each of these witnesses has the

 credentials and experience to speak to that issue, the plaintiff’s witness through

 practical experience (both as a lender to, and purchaser of, businesses involving

 real estate), and the defendants’ witnesses through study, training, writing and

 prior expert testimony. Moreover, I sit here as a judge, not a jury. Mistakes,


 4 See my earlier opinions in this case concerning how the company has been managed. Nancy
 Fannon, one of First Hartford’s experts, testified that she treated it as a closely held company for
 her valuation. Videotape Testimony of Nancy Fannon, Continued Valuation Hr’g Tr. 15, Sept. 24,
 2008 (“Fannon Continued Valuation Hr’g Tr.”) (Docket Item 171). But First Hartford’s other expert,
 Timothy Riddiough, did not. Expert Report of Timothy J. Riddiough at 6 (“Riddiough Expert
 Report”) (Def. Ex. 45).
 5 E.g., Fannon Continued Valuation Hr’g Tr. 44-45 (disagreeing with Riddiough on his income

 approach); see also supra note 4.
 6 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), imposes requirements on the

 acceptance of expert testimony.

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 omissions, inconsistencies or failure to follow appropriate methodology (and there

 are some) will affect the weight I give to their respective analyses and conclusions.

        I do not decide the corporation’s fair value based upon burden of proof or

 failure to meet the burden.7 I emphasize, however, that I do not have a roving

 commission to make an ideal determination of First Hartford’s fair value. Instead,

 I am bound by the record that the parties have presented me and the

 inadequacies it contains. See Barry M. Wertheimer, The Shareholders’ Appraisal

 Remedy and How Courts Determine Fair Value, 47 Duke L.J. 613, 629 (1998). On

 that record, I must determine fair value, and my decision will affect all the

 shareholders of this corporation for good or ill, including those who are not

 parties.

                                   THE EXPERTS’ TESTIMONY

        According to one commentator, in disputes like these:

                [T]he expert retained by the dissenting shareholder invariably
                concludes that the corporation has a very high fair value,
                while the corporation’s expert determines that the fair value of
                the corporation is much lower. It is not unusual for the
                opinions of the experts to differ by a factor of ten. It is,
                therefore, not surprising that courts have evidenced
                frustration with this process.

 Id. at 630-31.8 Accordingly, perhaps I should consider myself fortunate, since the

 experts in this case vary by a factor of only about five ($9 million at bottom; $48



 7 I am not even sure what burden of proof would mean in this context: zero value until the plaintiff
 proves something higher?
 8 The Delaware Chancery Court has observed that same problem even for discounted cash flow

 valuation alone. See Cede & Co. v. Technicolor, Inc., 1990 WL 161084, at *7 (Del. Ch. Oct. 19,
 1990) (experts’ values “cover[ed] an astonishing range” because of different assumptions about the
 future, and different methods used within the model); see also Samuel C. Thompson, Jr., A
 Lawyer’s Guide to Modern Valuation Techniques in Mergers and Acquisitions, 21 J. Corp. L. 457,
 465-66 (1996) (describing the Technicolor case). Wertheimer agrees:
 (continued next page)
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 million at top). Guilliaem Aertsen, aggrieved shareholder Kaplan’s expert, valued

 the business at $48.3 million. Nancy Fannon, First Hartford’s expert, valued it at

 $9.3 million. Timothy Riddiough, First Hartford’s other expert, valued it at $9.8

 million (which, reversing his express or implied 25% minority discount, I correct to

 $13.1 million).9 Although terminology varies, they calculated value in three basic

 categories—market,10 investment (or income-based11), and asset value. Then they

 weighed or ignored the results as they deemed appropriate. I summarize their

 respective credentials and analyses.

 Guilliaem Aertsen

        Aertsen is the chief executive officer of a private venture capital firm that

 buys or co-invests in early stage companies engaged in technology, real estate and

 distressed financial assets. Valuation Hr’g Tr. 51:11-13, July 24, 2008 (“July 24

 Valuation Hr’g Tr.”) (Docket Item 162); Curriculum Vitae of Guilliaem Aertsen

 (“Aertsen C.V.”) (Docket Item 90-3). He is also co-chair of a Boston based real



                 [The DCF approach] relies heavily on a guess as to the future cash
                 flows of the enterprise. This “guess” may be informed by looking at
                 historical data, operating trends, and other relevant factors, but it is
                 still nothing more than a prediction of future events. Once these
                 future cash flows are predicted, they must be discounted to a
                 present value. What discount rate should be employed? Again, there
                 is much room for guesswork and subjectivity. The DCF technique
                 also requires that a terminal value be established and then
                 discounted to a present value; both are further exercises in guess
                 work and subjectivity.
 Barry M. Wertheimer, The Shareholders’ Appraisal Remedy and How Courts Determine Fair Value,
 47 Duke L.J. 613, 629-30 (1998). Easterbrook & Fischel also agree. Frank H. Easterbrook &
 Daniel R. Fischel, The Economic Structure of Corporate Law 155 (1991).
 9 As required by Maine law, McLoon, 565 A.2d at 1003, I also must account for a marketability

 discount in my analysis, see infra notes 24 & 37 and accompanying text.
 10 There was one exception: Aertsen did not calculate a market value.
 11 I find it unnecessary to get into the intricacies of direct capitalization versus discounted cash

 flow analysis, or to consider the variety of other valuation methods that are extant. See, e.g.,
 Thompson, supra note 8, at 460-62.

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 estate investment and advisory firm, Aertsen C.V.; in this role, he advises property

 owners on whether to hold or sell their properties, July 24 Valuation Hr’g Tr.

 53:10-15. Aertsen is also chair of the audit committee of the board of a realty

 company that owns and operates residential and commercial properties in New

 England. Aertsen C.V. His work requires him to utilize discounted cash flow

 methodology to value business entities and real estate. July 24 Valuation Hr’g Tr.

 52:4-7. Earlier in his career, Aertsen spent twenty-five years at First National

 Bank of Boston, rising to executive vice president, with experience in commercial

 lending. Id. at 34:14-19; Aertsen C.V. Specifically, he “established the real estate

 workout effort in the late 1980s” when real estate problem loans surfaced in

 relation to overbuilding of commercial real estate. July 24 Valuation Hr’g Tr.

 36:14-25, 37:3-20, 41:20-22; Aertsen C.V. There, he applied discounted cash flow

 methodologies to valuing real estate, which he says led to Bank of Boston’s

 success in continuing lending to the commercial real estate industry. July 24

 Valuation Hr’g Tr. 41:24-25, 42:1-4. This lawsuit is his first expert testimony. Id.

 at 202:21-23, 218:14-17.

        Aertsen arrived at his $48.3 million valuation under the investment

 approach by using what he called an enterprise discounted cash flow model

 (DCF).12 Pl.’s Valuation Post-Hr’g Br. at 10 (Docket Item 184). Aertsen separated

 First Hartford into what he determined were its two component businesses: first,

 a portfolio of stable income-producing operating properties; and, second, a


 12 Aertsen also performed a net asset valuation, which he determined was $31.4 million; however
 he gave that figure no weight in determining First Hartford’s value. Pl.’s Valuation Post-Hr’g Br. at
 34 (Docket Item 184). As previously noted, Aertsen did not calculate a market value. See supra
 (continued next page)
                                                                                                     6
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 merchant      building     activity    involving     a   development,        construction       and

 management business. July 24 Valuation Hr’g Tr. 97, 171.13

        To value the income-producing category, Aertsen actually did not perform

 his own discounted cash flow analysis. Id. at 160. Instead, he relied on CB

 Richard Ellis appraisals of most of First Hartford’s properties, conducted for

 lenders in the course of First Hartford’s business within one year preceding the

 valuation date.14 Aertsen believed these appraisals had already done DCF for him.

 Id. at 163:19-20. Because no appraisal existed for one property, in North Adams,

 Massachusetts, Aertsen estimated its value “based on [its] square footage and the

 [discounted cash flow] values per square foot” of what he believed to be the

 company’s “three most comparable properties.”15 Pl.’s Valuation Post-Hr’g Br. at

 16.

        To value the other category of First Hartford’s business (development),

 Aertsen collected income and expense information reported in First Hartford’s

 financial statements from the three years prior to the valuation date and averaged


 note 10.
 13 Fannon made a similar observation: She said that First Hartford was “both a development

 company, and an operator of real estate comprised mainly in the retail (shopping center) sector.”
 Fannon Valuation Group, Business Valuation: First Hartford Corp. at 21 (“Fannon Expert Report”)
 (Def. Ex. 41). Elsewhere, she grouped the business into five baskets: rental properties, entities
 that hold properties for sale or future development, entities that earn fees from various sources,
 pass-through entities that hold interests in other entities, and entities that oversee operations and
 development activities. Id. at 17-18, 23.
 14 There is one exception to this one-year timeframe: the Hartford Lubbock appraisal, which was

 prepared on May 3, 2007. Lubbock Parkade Retail Center Appraisal Report (May 8, 2007) (Pl. Ex.
 133); Pl.’s Valuation Post-Hr’g Br. at 16. But First Hartford had only a 2% interest in that project,
 and it is an insignificant part of the total value. See First Hartford Corp., Annual Report (Form 10-
 K), at 8 (Aug. 15, 2005) (Pl. Ex. 59).
 15 The parties disagree greatly as to the value of the North Adams property. Aertsen valued First

 Hartford’s share of North Adams at $1,946,649. Guilliaem Aertsen, Going Concern Value of First
 Hartford Corp. (“Aertsen Expert Report”) (Pl. Ex. 162). The defendants’ experts said, based upon
 management representations to them, that the North Adams property had zero value. Valuation
 (continued next page)
                                                                                                     7
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 the figures. July 24 Valuation Hr’g Tr. 109:6-20. He then projected the resulting

 net income figure forward for ten years, applying a 14% discount rate that, in his

 opinion, “reflect[s] the riskier nature of FHC’s development business as compared

 to the stabilized income producing [operating] properties.” Pl.’s Valuation Post-Hr’g

 Br. at 19-20.

        To determine his final valuation figure of $48.3 million, Aertsen took the

 values calculated for the two categories of First Hartford’s business and added

 other miscellaneous items (for example, the value of an existing leasehold sale

 contract for First Hartford’s Bangor Parkade Shopping Center, the value of First

 Hartford’s excess cash, the value of its “tax shield” from a net operating loss carry-

 forward, and the value of various “deposits, escrows, prepaid and deferred

 expenses”). Id. at 20-23. Aertsen then reduced this total by the capitalized cost of

 First Hartford’s corporate center. Id. at 24. Aertsen did not reduce his valuation

 for income taxes, because the company has not paid federal income tax for the

 past seven years and maintains a large net operating loss carry-forward. Id. at 21.

 Nancy Fannon

        Fannon owns a valuation company and has been engaged in business

 valuations for over twenty years. Fannon Valuation Group, Business Valuation:

 First Hartford Corp. at 52 (“Fannon Expert Report”) (Def. Ex. 41). Her professional

 references include the American Society of Appraisers, the Institute of Business

 Appraisers, and the American Institute of Certified Public Accountants (“AICPA”).

 Id. Fannon has written and contributed to numerous published texts and articles


 Hr’g Tr. 34:3-12, 188:9-12, July 25, 2008 (“July 25 Valuation Hr’g Tr.”) (Docket Item 161).

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 on business valuation, id., including Business Valuation and Taxes: Procedure,

 Law, and Perspective (2005), a textbook authored by U.S. Tax Court Judge David

 Laro and Shannon P. Pratt. Valuation Hr’g Tr. 91:18-22, July 25, 2008 (“July 25

 Valuation Hr’g Tr.”) (Docket Item 161). Her professional awards include a 2007

 induction into the AICPA Business Valuation “Hall of Fame.” Fannon Expert

 Report at 53. She has testified many times as an expert witness in both federal

 and state courts. Id. at 52. Fannon is a Certified Public Accountant and holds a

 degree in accounting from the University of Massachusetts. July 25 Valuation

 Hr’g Tr. 86:20-21, 87:5.

        Fannon arrived at her $9.3 million valuation by calculating First Hartford’s

 value under the three methodologies—asset-based, income-based, and market-

 based. Fannon Expert Report at 50.

        Fannon’s net asset valuation of First Hartford yielded a value of

 $13,337,114. Id. Ex. B-1. To arrive at this number, Fannon subtracted capital

 gains taxes, transaction costs, and defeasance costs that she concluded would be

 incurred if a purchaser sold First Hartford’s assets.               Id. at 39.16     For this

 calculation, Fannon started with a third party (Paula Konikoff)’s retrospective

 adjustments to the CB Richard Ellis appraisal values that Aertsen had used,

 ostensibly so as to reflect the September 15, 2005, valuation date. Fannon then

 assessed risks specific to each property. July 25 Valuation Hr’g Tr. 101:19-

 106:19.     Neither the third party Konikoff analysis nor evidence about the



 16 There is case law support for subtracting such items. Bogosian v. Woloohojian, 158 F.3d 1, 6

 (1st Cir. 1998) (applying Rhode Island law).

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 additional risks was introduced into evidence before me, but I gather the

 adjustments were generally downward.17 Drawing on this unintroduced evidence,

 Fannon described risks including vacancies, absence of significant tenants, costs

 of regulatory compliance, and instability of real estate property values. Id. at

 99:2-7, 100:1, 101:19-106:19. She also adjusted for lack of cash flow from early-

 stage non-core investments, risk of recession, and interest rate risk.                       Id. at

 105:19-106:19.

        For her income-based analysis, Fannon used what she called the capitalized

 cash flow to invested capital method. Fannon Expert Report at 40. Like Aertsen,

 she started with the CB Richard Ellis appraisals, id. at 1, 3, but unlike Aertsen

 she used the income information from them, not the adjusted bottom-line

 appraisal, see id. at 23; Guilliaem Aertsen, Going Concern Value of First Hartford

 Corp. (“Aertsen Expert Report”) (Pl. Ex. 162).                Fannon collected income and

 expense information for a two-year period, relying on the CB Richard Ellis

 appraisals or, if none, then “look[ing] at [FHC subsidiary companies] on an

 individual basis to their income and expenses.” July 25 Valuation Hr’g Tr. 116:2-

 17. In using the appraisals, Fannon “relied on the net operating income as

 presented,” and “then accounted for other entity-level expenses not included,”

 such as debt. Fannon Expert Report at 23. Fannon eliminated “non-recurring”

 items, for example settlement proceeds from a lawsuit, for purposes of projecting

 the value of First Hartford. Id. at 22-24. Fannon also increased First Hartford’s


 17I am concerned about the reliance on this report without any testing of its preparer’s credentials,
 assumptions and methods, because it was apparently prepared for this litigation, see Riddiough
 Expert Report ¶ 38, in which management of FHC and Mr. Ellis both have obvious self-interests.

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 reported expenses to reflect a need for higher executive compensation based on

 her determination that the company paid its officers less than market value. Id. at

 24. These computations yielded an income-based or investment value of only

 $7.6 million, influenced by Fannon’s conclusion that First Hartford has

 “significant debt compared to its assets.” Id. at 41-42.

        For her market-based analysis, Fannon employed multiple methods. First,

 implementing the guideline public company method, Fannon compared First

 Hartford to REITs, but reduced the company’s value as compared to exemplar

 REITs because she concluded that REITs have “advantages over FHC in deal

 making ability and economies of scale” and do not pay corporate level income

 taxes. Id. at 45-46. Under this guideline public company method, Fannon valued

 the business at $10 million, based upon minority interest stock transfers in those

 public companies. She did not correct for any minority or marketability discount.

 Id. at 43-47.18 Second, using the transaction method, Fannon identified what she

 thought were comparable companies and determined the selling price of those

 companies in their entireties (i.e. without minority interest discounts). Id. at 47-

 48. Matching those companies with First Hartford, Fannon valued the company


 18 Fannon cited the Pratt text that refers to this valuation as “appropriate for a marketable,
 minority ownership interest.” Fannon Expert Report at 43 (quoting Shannon P. Pratt & Alina V.
 Niculita, Valuing a Business 266-67 (2008)). But Maine requires me to deal with the entire
 business, not a minority ownership interest. McLoon, 565 A.2d at 1004. Fannon seemed to think
 that the distinction is unimportant because she reached a similar valuation number under her
 transaction method (looking at sales of comparable businesses in their entirety which, according to
 Fannon, “clearly reflects entire controlling interests”), and referred to “some exuberance in the
 market [for the guideline public companies] at the time of the valuation” as the explanation.
 Fannon Expert Report at 43. I find more persuasive Riddiough’s analysis that the market reflects a
 25% minority discount. See Riddiough Expert Report ¶ 49. (Fannon recognized that the First
 Hartford stock price was slightly less than her transaction method indicated, but was content
 because her income approach came in even lower. Fannon Expert Report at 43.)

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 at $9.6 million under the transaction method. Id. at 48. Third, Fannon valued

 the company at $10 million based on sales of First Hartford’s stock (minority

 interests) reflected on the Pink Sheets. Id. at 48-49.

          To arrive at her final valuation of $9.3 million for the company, Fannon

 accorded little weight to the net asset valuation, but apparently gave one-quarter

 weight to each of the one income-based and three market-based approaches.19 Id.

 at 50.

 Timothy Riddiough

          Riddiough is professor and chair of the Real Estate and Urban Land

 Economics Department at the University of Wisconsin-Madison, where he teaches

 courses in commercial real estate finance and investment. Curriculum Vitae of

 Timothy J. Riddiough (“Riddiough C.V.”) (App’x A to Expert Report of Timothy J.

 Riddiough (“Riddiough Expert Report”) (Def. Ex. 45)).                   Prior to becoming a

 professor at UW-Madison, Riddiough was a tenured professor in the Urban

 Studies and Planning Department of the Massachusetts Institute of Technology,

 where he held the Edward H. Linde Career Development Chair. July 24 Valuation

 Hr’g Tr. 234:12-16; Riddiough C.V. Outside of academia, Riddiough has served on

 the boards of publicly traded and privately held REITs, and he has performed real

 estate valuations, including those of malls and other forms of retail property.

 July 24 Valuation Hr’g Tr. 236:10-11, 237:1-2. Riddiough has also published


 19 Fannon said that she gave “equal weight to the Income and Market Approaches,” Fannon Expert
 Report at 50, but the math works only if she gave equal weight to each of the income approach
 figure of $7.6 million, the guideline public company method figure of $10 million, the transaction
 method figure of $9.6 million, and the $10 million figure based on sales of First Hartford’s stock
 (minority interests) reflected on the Pink Sheets.

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 numerous articles on real estate finance and valuation issues. Riddiough C.V. He

 holds a doctorate degree in real estate.     Id.   He has given previous expert

 testimony concerning real estate finance. Id.

       Riddiough calculated First Hartford’s net asset value, investment value, and

 fair market value, and then used the Delaware Block method to weight those

 respective values to come to his ultimate valuation of $9.8 million. Riddiough

 Expert Report ¶ 6. Under all three methods, however, his total valuation for the

 company was based upon a minority discount because he believed that to be his

 assignment. July 25 Valuation Hr’g Tr. 46:18-47:5. He also did not adjust for

 lack of marketability. Riddiough Expert Report ¶¶ 13, 20. Removing the minority

 discount alone (which Riddiough calculated at 25%) would yield a value of

 $13,066,667.

       First, Riddiough concluded that the market value of First Hartford was

 $10 million, based upon his review of the history of Pink Sheet trading in First

 Hartford’s stock. Riddiough Expert Report ¶ 20. That value, he said, reflects a

 minority discount. Id. ¶ 48.

       In determining First Hartford’s investment value, Riddiough like Fannon

 relied on financial information of publicly traded REITs. Id. ¶ 21. After adjusting

 for “post-tax capital gains/losses” from purchase and sale of real estate, and

 expenses incurred by First Hartford in connection with this lawsuit, Riddiough

 found its investment value to be $9.4 million, again with a built-in minority

 discount. Id. ¶¶ 24-26, 33, 48.




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        Finally, to determine FHC’s net asset value, Riddiough based his valuation

 on the same third-party reduced appraisals that Fannon used. Id. ¶ 38; July 25

 Valuation Hr’g Tr. 27:17-20. After deducting the taxes that would be payable

 upon liquidation, he found the net asset value of the entire company to be

 $15,543,384. Riddiough Expert Report Ex. 11.20 Then, he applied a 25% minority

 discount to yield a total net asset value of $11.66 million.21 Id. ¶¶ 48-49.

        To arrive at his final valuation of $9.8 million (reflecting a minority

 discount), Riddiough accorded 10% weight each to the net asset valuation and

 investment value, assigned 80% weight to the Pink Sheet prices, and then further

 reduced the value by the amount of a 2006 cash dividend. Id. ¶¶ 52-53.

                                         MY ASSESSMENT

        My role is to apply Maine law as it is now, and determine the “best price” a

 single buyer would pay for the entire firm, without a minority or marketability

 discount. McLoon, 565 A.2d at 1004. In that regard, I comment first upon the




 20Elsewhere, he says $15.82 million. Riddiough Expert Report ¶ 46.
 21Riddiough reasoned:
                I understand that the statutory definition of fair value for appraisal
                purposes adopted by Maine does not allow for discounts for lack of
                marketability or for a minority stake. However, in my opinion it is
                necessary to apply a minority discount to FHC’s NAV in order to
                make the NAV comparable to the values based on the other two
                methods—market value and investment value. This is because both
                the market value and investment value per share of FHC represent
                the value of owning one minority share in FHC. In other words,
                FHC’s NAV per share represents the amount that someone may be
                willing to pay in order to acquire a hundred percent stake in the
                FHC, while the market value and investment value represent the
                amount an investor may be willing to pay to acquire a minority stake
                in FHC.
 Id. ¶ 48. I conclude that these express or implicit discounts, in all three categories, are expressly
 contrary to Maine law, because I am determining the value of 100% of the business to a single
 third-party purchaser. McLoon, 565 A.2d at 1004.

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 experts’ testimony, then proceed to apply the elements I find most persuasive to

 determining valuation.

        I have considered Riddiough’s insistence on the preeminent significance

 (“heavy (if not exclusive) weight”), of the Pink Sheets price as a guide to value.

 Riddiough Expert Report ¶ 17. Certainly he has substantial academic backing for

 this insistence on market price. E.g., Frank H. Easterbrook & Daniel R. Fischel,

 The Economic Structure of Corporate Law (1991); Albert O. Hirschman, Exit,

 Voice, and Loyalty (1970).22 Since Riddiough said that the Pink Sheet trades

 reflect a minority discount of 25%, Riddiough Expert Report ¶¶ 48-49, reversing

 that discount to reflect the Maine requirement that I value the business as if

 someone were purchasing a 100% ownership (“the best price a single buyer could

 reasonably be expected to pay for the firm as an entirety,” McLoon, 565 A.2d at

 1004), certainly provides a valuation number that I should consider.

        Kaplan objects to any use of the market value as established by the Pink

 Sheets, arguing that the stock is too thinly traded to make that number useful,

 that the Pink Sheets do not have the reliability of a listed stock exchange,23 and

 that they hugely undervalue the business on account of Ellis’s control position

 and his oppression. Pl.’s Valuation Post-Hr’g Br. at 24-32. It is true that the

 stock has been thinly traded as publicly held corporations go, but that does not

 necessarily mean that the Pink Sheet trades severely undervalue the stock. I have


 22 On the other hand, some of the academic commentary is also critical of the valuation standards
 endorsed by the Delaware court and followed by Maine. See, e.g., Daniel R. Fischel, The Appraisal
 Remedy in Corporate Law, 1983 Am. B. Found. Res. J. 875, 877 (criticizing Weinberger v. UOP,
 Inc., 457 A.2d 701 (Del. 1983)). I must follow Maine law regardless of the criticism.
 23 See supra note 3.



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 previously found that the oppression is not the cause of the thin trading. Findings

 of Fact and Conclusions of Law at 47 (Docket Item 81). I also conclude that the

 oppression is not the cause of any lowered market price, because a good part of

 the oppression I found was associated with this particular family dispute. See id.

 There should be some modest adjustment for the lack of marketability. That lack

 of marketability is reflected in the thinness of trading, and confirmed by Lehman

 Brothers’ inability to trade a block of approximately 35,000 shares on the open

 market just one week after the valuation date. See note 27 infra.24 But those

 factors do not make the market value irrelevant.

        Other things about Riddiough’s testimony give me pause in adopting many

 of his conclusions:        he seemed to think that his assignment was to value a

 minority interest, July 25 Valuation Hr’g Tr. 46:18-47:5, which makes me

 question the rest of his instructions; all his information and instructions seemed

 to come from the Analysis Group of Boston, an entity not otherwise presented to

 the court, and he relied extensively on what they did, ostensibly under his

 tutelage, id. 37:22-24, 40:19, 54:24-56:3; the officers of First Hartford told him of

 a $4 million error the morning of his deposition, but he did not disclose it because

 he was not asked specifically about it, then the error was disclosed to the


 24 Pratt defines marketability as “the ability to convert the business ownership interest (at whatever
 ownership level) to cash quickly, with minimum transaction and administrative costs in so doing
 and with a high degree of certainty of realizing the expected amount of net proceeds.” Pratt &
 Niculita, supra note 18, at 417. He also notes that a greater spread between bid and asked prices
 reveals lower marketability. Id. (quoting Charles J. Woelful, Encyclopedia of Banking & Finance
 729 (10th ed. 1994)). According to First Hartford’s 10-K for the fiscal year ending April 30, 2006,
 only a “limited amount of Company shares . . . are traded,” and “[t]he market is controlled by
 market makers, which usually causes a large spread between bid and ask prices. As a result the
 market price of [the] common stock has been volatile.” First Hartford Corp., Annual Report (Form
 10-K), at 5 (Aug. 31, 2006) (Pl. Ex. 75). I reject Riddiough’s conclusion that no marketability
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 plaintiff’s lawyer only the evening before Riddiough’s courtroom testimony, and

 Riddiough could not recall who at First Hartford gave him the corrective

 information or explain the late date of the errata sheet, id. at 70:15-72:20; nothing

 in his report shows any attention to the net operating loss carry-forwards

 although Riddiough is sure they were taken into account, id. at 77:11-23.

        Fannon, the other defense expert, performed the most thorough valuation

 among the three experts. But I find troubling the fact that her going concern

 value ($9.3 million), id. 157:220-159:5, is so much lower than the net asset value

 ($13.337 million) she calculated from the real estate appraisals, and yet she

 assigned the net asset value so little weight.25 For a company like this, dependent

 heavily on real estate, the ability to liquidate some of its holdings could play an

 important part in a third party’s decision how much to pay for the business, id. at

 147:1-5; 12B William Meade Fletcher, Fletcher Cyclopedia of the Law of Private

 Corporations § 5906.140 (2000), even while it is a going business.26 After all,

 third parties do sometimes purchase businesses and liquidate portions of their

 assets.    I am also troubled that Fannon’s income-based approach yielded a



 adjustment is necessary. See Riddiough Expert Report ¶¶ 13, 20.
 25 Both Riddiough and Fannon appear to have been influenced by my comments that in choosing

 the remedy of buyout rather than liquidation I assumed that the company would continue to
 operate for the benefit of its other shareholders. See Findings of Fact and Conclusions of Law Part
 2: Remedy at 5 (Docket Item 116). They seemed to think that statement was an additional reason
 to discount net asset value. But my comment on the choice of remedy does not affect Maine law as
 to how fair value is determined, and of course it was and is open to the company management to
 choose liquidation if in the best interests of the shareholders.
 26 The Maine Law Court’s counsel against too heavy a reliance on net asset value was in a case

 where the appraiser had actually used book value and had no appraisals. In re Valuation of
 Common Stock of Libby, McNeill & Libby, 406 A.2d 54, 61 (Me. 1979). The Court reiterated that
 “[t]he relative weight to be given to those three elements depends much upon the facts of the
 individual case, including the relative confidence that the weighting tribunal has in the accuracy of
 those three subsidiary determinations themselves.” Id. at 67.

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 valuation ($7.6 million) so far below the market value reflected by the Pink Sheet

 trades, once the minority discount correction is considered,27 even overlooking any

 further correction for lack of marketability. Perhaps that is because Fannon

 excluded from her income stream calculation any future sales of real estate,

 Fannon Expert Report Ex. C-1; July 25 Valuation Hr’g Tr. 198:12-16, even though

 First Hartford’s 10-Ks recognize that they are an important part of its business.

 First Hartford Corp., Annual Report (Form 10-K), at 1 (Aug. 15, 2005) (describing

 FHC’s business as “the purchase, development, ownership and management of

 real estate with the ultimate goal of selling such properties when profitable

 opportunities arise”); see also July 25 Valuation Hr’g Tr. 75:1-2 (Riddiough

 explains that “purchase and sale of real estate represents a primary component of

 [FHC’s] business”); Fannon Expert Report at 22 (noting FHC “does not expect to be

 profitable except upon the occasional sale of properties”). Certainly Aertsen was

 unrealistic in his projections as to this part of the business. He took a three-year

 period containing a major real estate sale and projected that as an average into

 the future, July 24 Valuation Hr’g Tr. 171:4-8, whereas a review of First Hartford’s

 longer timeline reveals that major sales do not happen every three years, July 25

 Valuation Hr’g Tr. 112:2-11. On the other hand, these sales cannot be ignored


 27The $3.25 minority trade three days before the valuation date, see Riddiough Expert Report
 Ex. 3 (citing NASDAQ.com), yields a market value of $10,020,533, which, corrected solely for the
 25% minority discount, is $13,360,711. Even a block sale to the company, when Lehman Brothers
 could find no purchaser a week after the valuation date (a sale that all parties seem to agree was at
 a discount ($2.50)), yields a total of $7,708,103. See Special Meeting of the Board of Directors of
 First Hartford Corporation (Sept. 22, 2005) (Pl. Ex. 35E) (describing Lehman Brothers’ concern that
 “due to the lack of shares traded and the large block they held, Lehman would only get about
 $2.00 a share” selling on the market, and thus Lehman Brothers solicited an FHC buy-back of the
 stock). Correcting solely for the minority discount and not for the lack of a market, the adjusted
 number there is $10,277,470.

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 altogether in deciding what a purchaser would pay for this business.28 And

 Fannon did not adjust the market value number she derived from the Pink Sheet

 trades to reflect any minority discount.29

        I am also troubled that, although the defendants had both Riddiough and

 Fannon rely on the Konikoff adjustments, they did not introduce that report into

 evidence, and thus I did not get to hear Konikoff’s information, assumptions and

 conclusions tested. The earlier CB Richard Ellis real estate appraisals were made

 in the ordinary course of business. See, e.g., Lubbock Parkade Retail Center

 Appraisal Report (May 8, 2007) (Pl. Ex. 133); Putnam Shopping Parkade Appraisal

 Report (Sept. 10, 2004) (Pl. Ex. 131). The Konikoff adjustments, on the other

 hand, were made precisely for this litigation valuation. Riddiough Expert Report

 ¶ 38. Based upon this later report, Fannon testified at length about changes in

 the properties or later qualifications to the earlier valuations, July 25 Valuation

 Hr’g Tr. 100:1-4, 101:19-105:5, and I have no way to assess the reliability of her

 reliance.    Finally, I am concerned too at Riddiough’s and Fannon’s ready

 acceptance of oral statements from management that North Adams Main Street

 Parkade had zero value. Id. at 164, 188:9-12, 191-92.30 (There was no appraisal

 of that property. Id. at 191:20-22.) Cross-examination of Fannon established that


 28 Fannon recognized that the company states that it has the “ultimate goal of selling [its]
 properties when profitable opportunities arise,” Fannon Expert Report at 6, and that there is no
 expectation of profitability except when it occasionally makes such sales, id. at 22.
 29 Fannon seems to have thought that this would improperly apply a control premium, id. at 48,

 but I see no other way to interpret what the Law Court has said, since I must value the company
 based upon what a single buyer would pay for the entire company. See McLoon, 565 A.2d at 1004.
  Alternatively, Fannon appears to have concluded that the market price is the control price because
 her investment analysis gives a still lower value. Fannon Expert Report at 43; see also supra
 note 18.
 30 Fannon’s report made clear that for purposes of her valuation she accepted without question

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 its actual mortgage debt was $3 million less than the full mortgage financing, and

 that the leasing process was proceeding apace. Id. at 188:13-191:19.31

        I have many difficulties with the value opinion of Guilliaem Aertsen,

 although he has abundant experience conducting business valuations in real-

 world settings (bank loan portfolios; venture capital firm real estate companies).

 July 24 Valuation Hr’g Tr. 45-46. In relying on the real estate appraisals prepared

 for First Hartford lenders before the valuation date, Aertsen treated them as

 essentially discounted free cash flow analyses, thus obviating the need for him to

 perform such analyses. Id. at 159-60. In fact, their bottom lines (which he used,

 id. at 71:20-72:19) were based upon a combination of income capitalization,

 comparable sales, and cost.32 See, e.g., Lubbock Parkade Retail Center Appraisal

 Report; Putnam Shopping Parkade Appraisal Report. Second, although I reject

 the decision by Riddiough and Fannon to assign the North Adams property zero

 equity value, I find Aertsen’s valuation of First Hartford’s equity in that property

 ($1,946,649) unconvincing. See Aertsen Expert Report. He found “comparables”

 to North Adams by looking at other properties in the First Hartford portfolio,

 July 24 Valuation Hr’g Tr. 79-80, but they were not really comparable, being fully



 statements by management and the appraisal adjustments. Fannon Expert Report at 3.
 31 As of the April 30, 2005, 10-K, the North Adams property was reported as 23% leased, First

 Hartford Corp., Annual Report (Form 10-K), at 4 (Aug. 15, 2005); as of the April 30, 2006, 10-K, it
 was 73% leased, First Hartford Corp., Annual Report (Form 10-K), at 6 (Aug. 31, 2006). Therefore
 as of the September 15, 2005, valuation date it seems likely that the percentage was somewhere
 between these two numbers. July 25 Valuation Hr’g Tr. 188:13-190:11.
 32 Fannon used them, but specifically their income calculations, and then she adjusted them for

 other expenses. Id. at 23. The differences between the values Fannon used for the various
 properties and the CB Richard Ellis values used by Aertsen range from miniscule to immense; for
 example, there is no difference in value for Plainfield Parkade, a $325,000 value difference for
 Putnam Parkade, a $800,000 difference for Trolley Barn, a $1.3 million difference for Parkade
 Center, and a $2.25 million difference for Cranston BVT. See Fannon Expert Report Ex. B-2;
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 leased and with higher net operating incomes. See Aertsen Expert Report; Fannon

 Expert Report Exs. B-2, C-1.33 Aertsen testified that his bank experience taught

 him that, on average, using other properties in a portfolio worked out most of the

 time. July 24 Valuation Hr’g Tr. 164:1-13. But here we are not dealing with

 “most of the time,” as a bank might do in considering its entire lending portfolio,

 but valuing one particular business.               Aertsen improperly treated a lawsuit

 settlement for $807,950 in First Hartford’s favor as a recurring item. See id. at

 176:5-20; July 25 Valuation Hr’g Tr. 175:3-6. As the plaintiff’s lawyer conceded at

 closing argument, Aertsen also double-counted the tax loss carry-forward, and

 there was a $3 million error calculating the cash First Hartford could have

 distributed to shareholders in the timeframe of the valuation date.34 Valuation

 Oral Argument Tr. 19:4-20, 23:5-18, Feb. 11, 2009 (Docket Item 191). I find also

 that he did not adequately consider Ellis’s personal guarantees in valuing the

 business, guarantees that a new buyer well might not be willing to make. (Aertsen

 assumed that Ellis’s estate—Mr. Ellis is in his early 80s—will continue to do what

 Ellis has done, an unfounded assumption. See July 24 Valuation Hr’g Tr. 217:4-



 Aertsen Expert Report.
 33 Aertsen used FHC’s Plainfield, Putnam, and West Springfield properties as comparables.

 Aertsen Expert Report. It is uncontested that the net operating income and leasing status of these
 comparables on the valuation date are as follows: (i) for Plainfield, a net operating income of
 $591,215, id., and a leasing status of 100%, Fannon Expert Report Ex. B-2; (ii) for Putnam, a net
 operating income of $571,531, Aertsen Expert Report, and a leasing status of 100%, Fannon
 Expert Report Ex. B-2; and (iii) for West Springfield, a net operating income of $1 million, Aertsen
 Expert Report, and a leasing status of 100%, Fannon Expert Report Ex. B-2. On the other hand,
 North Adams had a net operating income of ($1,463), Fannon Expert Report Ex. C-1, and a leasing
 status of somewhere between 23% and 73%, July 25 Valuation Hr’g Tr. 188:13-190:11.
 34 I also find that in Aertsen’s net asset value analysis, he improperly treated prepaid expenses as

 items that could be recognized on liquidation. Valuation Hr’g Tr. 205:21-206:3, July 24, 2008
 (“July 24 Valuation Hr’g Tr.”) (Docket Item 162). (But ultimately, Aertsen placed no reliance on his
 net asset valuation. Id. at 204:18-20.)

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 218:13.)     In sum, Aertsen actually spent precious little time on valuing this

 complex corporation, his first time as an expert witness. Id. at 202:21-203:9. In

 his final opinion, he also gave no weight to net asset value or stock market value.

 Id. at 204:15-20.

        In the end, based upon the information given me, I find the following.

        Starting with the stock market price as a guide to fair value, I have a 100-

 share trade of $3.25 just three days before the valuation date (the trade was

 September 12, 2005). See Riddiough Expert Report Ex. 3 (citing NASDAQ.com).

 That number, although small in volume, seems to be fairly consistent with earlier

 trades. Fannon reported the following weighted average prices before that date, on

 a monthly basis during calendar year 2005: beginning February 1, $3.25;

 beginning March 1, $2.00; beginning April 1, $3.95; no May 1 entry; beginning

 June 1, $3.50; no July 1 entry; beginning August 1, $3.25; beginning

 September 1, $3.15. Fannon Expert Report Ex. E-2.35

        Although I find a marketability adjustment is appropriate, none of the three

 experts has suggested a number. On the separate question of minority ownership

 discount, Riddiough said that the relevant range for similar companies is up to

 30%, and he used a 25% minority discount,36 July 25 Valuation Hr’g Tr. 4-5;


 35 A week after the valuation date, Lehman Brothers could not find a market for a large block of
 stock (36,892 shares) and had to sell the block back to the company at a discount, $2.50 per
 share. See Special Meeting of the Board of Directors of First Hartford Corporation (Sept. 22, 2005).
 36 For a discussion of minority discount, see Wertheimer, supra note 8, at 640. Pratt says that

 when a private company operates like a publicly held company, “the lack of control discount is
 usually less than it would otherwise be. One reason is that in such a case the controlling
 stockholder is (presumably on a voluntary basis) not exercising all of the prerogatives of control.”
 Pratt & Niculita, supra note 18, at 403. Although First Hartford is a public company operating like
 a privately held company, I have found that the largest shareholder, Neil Ellis, is exercising all the
 prerogatives of control.

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 Riddiough Expert Report ¶ 49, (the other two experts did not give me a minority

 discount figure). I start with the higher number, 30%, given the need to recognize

 both discounts.37 The adjusted share price to correct for the discounts is thus

 $4.64.     Since the number of outstanding shares on the valuation date was

 3,083,241,38 that share price yields a total value of $14,306,238 for the company,

 which I round to $15 million to ensure full recognition of the necessary

 marketability adjustment. That number exceeds Fannon’s net asset valuation of

 $13,337,000, a value that reflects subtractions for taxes, defeasance and

 transaction costs if all the properties were liquidated.39 Fannon Expert Report at

 39. (Remember too that I found that net asset value to be too low because of

 failure to assign any value to the North Adams property and that I have misgivings

 about the Konikoff downward adjustments.) It is below Riddiough’s total net asset

 value of $15,543,384 (or $15.82 million), Riddiough Expert Report ¶ 46 & Ex. 11,


 37 Pratt says that “[t]he levels of [nonmarketability] discounts allowed in most judicial decisions still
 seem to be below what the empirical evidence related to arm’s-length transactions tends to
 suggest,” Pratt & Niculita, supra note 18, at 452, and says that the empirical evidence suggests
 discounts clustering “in the range of 30 percent to 50 percent from their publicly traded
 counterparts.” Id. at 419. But he also states that the individual facts and circumstances need to
 be considered, id., and unfortunately none of the three experts has adequately analyzed the
 appropriate nonmarketability discount here.
 38 The 10-K for fiscal year ended April 30, 2005, says that as of August 8, 2005, this was the

 number of outstanding shares. First Hartford Corp., Annual Report (Form 10-K), at 1 (Aug. 15,
 2005). This is also the number that Fannon used. Fannon Expert Report at 5. The 10-Q for
 October 31, 2005, says that the number of shares outstanding as of December 9, 2005, was
 3,046,279. First Hartford Corp., Quarterly Report (Form 10-Q), at 1 (Dec. 19, 2005) (Pl. Ex. 118).
 Aertsen used the number 3,083,171, Aertsen Expert Report, which seems to be the latter number
 adjusted for the Lehman sale back to the company just after the appraisal date. Riddiough used
 the number 3,064,725, an average of the number reported in the 10-Qs for July 31 and
 October 31, 2005. See Riddiough Expert Report Ex. 11 n.8. Although there was some discussion
 about whether to include as shares stock options that had not yet vested (250,000 were
 outstanding according to the 10-K for April 30, 2005), I do not include them for purposes of this
 valuation as of September 15, 2005.
 39 Fannon also said that the number might be lower because some of the properties are held

 through subsidiaries that First Hartford does not control or because of other defeasance costs.
 Fannon Expert Report at 39.

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 before Riddiough reduced that figure on the mistaken belief that he should adjust

 for a minority ownership discount.

        I find net asset value to have significance for this company whose assets

 largely are real estate holdings.           See 12B Fletcher, supra, at § 5906.140;

 Wertheimer, supra, at 673 n.312 (critiquing the opposing viewpoint and citing

 cases); Don S. Clardy, Valuation of Dissenters’ Stock Under the Appraisal Remedy,

 62 Tenn. L. Rev. 285, 297 & n.78 (1995); Note, Front-End Loaded Tender Offers:

 The Application of Federal and State Law to an Innovative Corporate Acquisition

 Technique, 131 U. Penn. L. Rev. 389, 417 n.162 (1982) (“Net asset value is usually

 an important factor only in valuing corporations such as natural resource and real

 estate companies, which are sometimes thought to be undervalued by the stock

 market because they produce low reported earnings relative to their cash flow.”).40

 Therefore, net asset value fortifies my confidence in the stock market value, after

 adjustment for minority and marketability discounts.

        I recognize that these market and net asset values are much higher than the

 numbers the two defense experts derived from their investment or income-based

 approach. But they are also much lower than the number the plaintiff’s expert

 derived from his version of the same approach. The Maine Law Court has said

 that the investment method of valuation has weaknesses as a measure of fair

 value when determination of the capitalization ratio is highly subjective and when


 40 Easterbrook and Fischel say there is no empirical support for believing that market value would

 not include appropriate recognition of net asset value in businesses with these types of holdings.
 Easterbrook & Fischel, supra note 8, at 156, Fischel, supra note 22, at 892. But here I am not
 using net asset value to increase the market value, the major focus of that criticism, only to
 support the market value conclusion.

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 earnings history is erratic. Libby, 406 A.2d at 61. That is certainly true here. As

 to earnings history, Fannon stated repeatedly that revenue and return for First

 Hartford were “volatile.”         Fannon Expert Report at 13, 15-16, 23.                    As to

 capitalization ratio, all the experts had to deal with the fact that First Hartford

 appears to be a unique corporation, engaging in its two lines of real estate

 business as a Subchapter C corporation, not as a REIT.41                        First Hartford’s

 uniqueness made it difficult to select an appropriate capitalization rate. Each of

 the experts had to make subjective adjustments in their valuation approaches

 accordingly.42

        Taking into account the market value reflected in the Pink Sheets and

 adjusting upward for an implicit marketability and minority discount, I conclude

 that the fair value of First Hartford’s entire business on September 15, 2005, was

 $15 million.43 That value, derived from the market trade (on a per share basis)

 just before the valuation date, and corrected for minority and marketability

 discounts, is modestly above Fannon’s net asset value of $13,337,000, and



 41 As a C corporation, First Hartford does not have to pay dividends, whereas REITs must
 distribute 90% of their profits; indeed, there are negative tax consequences when it does pay
 dividends, whereas REITs are exempt from federal income tax. July 25 Valuation Hr’g Tr. 129:23-
 130:16. Fannon also found it unique in its debt structure, being highly leveraged with the
 advantage of the Ellis personal guarantees. Fannon Expert Report at 29, 31. Also, as plaintiff’s
 counsel noted, First Hartford’s merchant building component is uncommon among REITs. July 24
 Valuation Hr’g Tr. 11:12-16. Aertsen testified that for REITs with a development aspect to their
 business, the industry performs a distinct valuation for that component that is not reflected in the
 treatises. Videotape Testimony of Guilliaem Aertsen, Continued Valuation Hr’g Tr. 58:13-23,
 Sept. 24, 2008 (“Aertsen Continued Valuation Hr’g Tr.”) (Docket Item 170).
 42 For example, Riddiough used the REIT funds from operations (FFO) approach and adjusted it.

 For his multiplier, he had to use a basketful of REITs and perform adjustments because there was
 nothing comparable to First Hartford, and he ended up developing a regression analysis unique to
 this case. July 25 Valuation Hr’g Tr. 7-8, 81:1-17. Recall the discussion in note 8, supra,
 concerning the wide variations in value that DCF analysis can produce.
 43 This $15 million value translates to $4.87 per share.



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 modestly below Riddiough’s net asset value of $15.82 million or $15,543,384.44

 The wildly divergent figures the experts generate using an income-based approach

 (Fannon $7.6 million; Riddiough $13.43 million after correcting 30% for minority

 and marketability discounts; Aertsen $48.3 million) explain my conclusion to rest

 instead upon this valuation deriving primarily from the stock trades, corrected for

 the minority and marketability discounts; the net asset valuations give me

 confidence in doing so.

                                        REMAINING ISSUES

        At closing argument and in the final legal memoranda, the defendants

 argued that any relief should go solely to the plaintiff Richard Kaplan individually

 and not include his beneficially or jointly owned shares. Although it is true that

 Kaplan’s Complaint dated and filed September 15, 2005, listed only his

 individually owned 145,719 shares, Compl. ¶ 9, the parties have continuously

 proceeded since then on the understanding that Kaplan’s beneficial ownership,

 including shares where he shares dispositive power with another, is at stake. See,

 e.g., Pl.’s Trial Br. at 1 (total of 591,254, 19.1% of the outstanding shares) (Docket

 Item 53); Def.’s Trial Br. at 2 (“roughly 19%”) (Docket Item 49); First Hartford

 Corporation’s Position on Remedies at 1 (proposing that the court order Richard


 44Interestingly, it is lower than an adjusted value for a trade three months later involving
 controlling shareholder Ellis. On December 16, 2005, he bought for the benefit of his wife 1,000
 shares at $4.00 per share. First Hartford Corp., Statement of Changes in Beneficial Ownership
 (Form 4) (Jan. 4, 2006) (Pl. Ex. 128). Adjusting that price 30% upward to correct for the minority
 and marketability discounts yields a share price of $5.71 and a total value of $17,605,306.
 (Although Ellis is a controlling shareholder, the seller necessarily would have been a minority
 shareholder. I see no reason, therefore, not to conclude that the price was affected by the minority
 discount.) I do not use this post-valuation transaction as proof of value, but it is a useful check on
 whether the value already selected can be confirmed. Fannon Expert Report at 49 (quoting David
 Laro & Shannon P. Pratt, Business Valuation and Taxes: Procedure, Law, and Perspective (2005)).

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 Kaplan to sell to the company “all shares which he owns outright or beneficially”)

 (Docket Item 93). Prior to this litigation, First Hartford treated Richard Kaplan’s

 ownership in the aggregate. See, e.g., First Hartford Corp., Annual Report (Form

 10-K) (Aug. 15, 2005) (listing Richard Kaplan as the owner of 19.1% of First

 Hartford’s outstanding stock, including Richard Kaplan’s individually owned

 shares and shares over which both he and his brother, David Kaplan, have shared

 dispositive power).45      Therefore, because the defendants have, until recently,

 proceeded on the basis that the Richard Kaplan shares include Richard Kaplan’s

 individually owned stock, stock he owns beneficially through family trusts and

 other business entities, and stock where he shares control with his brother, see

 Def.’s Trial Br. at 2; Def.’s Post-Trial Br. at 2 (Docket Item 76), the defendants

 have waived any argument that those indirectly owned interests are not subject to

 today’s ruling.

        The shares owned by David Kaplan individually, however, are another

 matter. David Kaplan has not been a party to this lawsuit, and therefore stands

 in the same position as any other shareholder.                  The parties’ previous legal

 memoranda do not reflect any understanding that David Kaplan’s shares will be

 directly affected by my decision.46 Unless I determine ultimately to extend relief




 45 In an earlier lawsuit in the District of Massachusetts, Judge Gorton likewise referred to Kaplan
 as “the beneficial owner of approximately 19.1% (591,254 shares) of FHC’s outstanding common
 stock.” Kaplan v. First Hartford Corp., 447 F. Supp. 2d 3, 4 (D. Mass. 2006).
 46 It is true that in a parenthetical comment in my Findings of Fact and Conclusions of Law on

 oppression I mentioned David Kaplan’s shares, see Findings of Fact and Conclusions of Law at 4-5,
 but even there, I referred to the plaintiff as “a 19% shareholder,” thereby disregarding David
 Kaplan’s individually owned shares, id. at 1.

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 more broadly to shareholders,47 or determine that neither First Hartford nor Neil

 Ellis has the financial ability to purchase the Rickard Kaplan stock and that

 dissolution of First Hartford is required, my decision ordering relief in this case

 will be limited to Richard Kaplan’s individual, beneficial and joint interests.

        As previously agreed upon by the parties, the expedited briefing schedule on

 the remaining issues with respect to First Hartford’s ability to pay, who can

 participate, and how the payment should be structured, is as follows: The parties

 are to meet and confer within five business days after the date of this Order, the

 defendants are to file their responses within eleven business days from the Order

 date, and the plaintiff and amicus parties are to file their replies within eleven

 days after the filing of the defendants’ responses.

        SO ORDERED.

        DATED THIS 20TH DAY OF MARCH, 2009



                                                     /S/D. BROCK HORNBY
                                                     D. BROCK HORNBY
                                                     UNITED STATES DISTRICT JUDGE




 47 Although they have not sought to intervene as parties, some shareholders have filed an amicus

 brief that expresses concern about remedy because of the general economic downturn in recent
 months and its likely effect on the value of the business. Post-Trial Br. of Amici Curiae at 8-12
 (Docket Item 181).

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